Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 1 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 2 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 3 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 4 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 5 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 6 of 7       Exhibit 3
Case 14-14753-RGM    Doc 18-3 Filed 03/17/15 Entered 03/17/15 14:31:41 Desc
                    Exhibit(s) Loan Modification Page 7 of 7       Exhibit 3
